     2:24-cv-06310-JD             Date Filed 07/15/25           Entry Number 21             Page 1 of 15




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                     CHARLESTON DIVISION

Jay Connor,                         )                        Case No. 2:24-cv-06310-JD-MGB
                                    )
                    Plaintiff,      )
                                    )
      v.                            )                        REPORT AND RECOMMENDATION
                                    )
David Wishnia and John Does 1–10,   )
                                    )
                    Defendants.     )
___________________________________ )

        Plaintiff Jay Connor (“Plaintiff”), proceeding pro se, brings this civil action alleging

violations of the Telephone Consumer Protection Act (“TCPA”) and the South Carolina Telephone

Privacy Protection Act (“SCTPPA”). (Dkt. No. 1.) Before the Court is Plaintiff’s Motion for

Default Judgment against Defendant David Wishnia. 1 (Dkt. No. 19.) For the reasons stated below,

the undersigned recommends that the Court grant Plaintiff’s Motion for Default Judgment (Dkt.

No. 19) and award $5,000.00 in statutory damages and $570.00 in costs.

                                              BACKGROUND

        The Complaint alleges that “a third-party lead company,” hired by Defendant David

Wishnia, made two telephone solicitations by text message to Plaintiff’s cellular telephone number

on October 14, 2024, despite Plaintiff having registered his number on the National Do-Not-Call

Registry in 2021. (Dkt. No. 1 at 4–5.) According to the Complaint, the first message read, verbatim,

“Hi Jay, my name is Katrina from Sunlight Solar.. I am just checking out if you are still interested

in getting a proposal about no money out of pocket Solar P”. (Id. at 5.) The second message read,

verbatim, “rogram. Thank you”. (Id.) The Complaint alleges Plaintiff “responded to the message



1
  Pursuant to Local Civil Rule 73.02(B)(2) (D.S.C.), pretrial proceedings in this action have been referred to the
assigned United States Magistrate Judge.

                                                        1
     2:24-cv-06310-JD               Date Filed 07/15/25             Entry Number 21              Page 2 of 15




to identify the sender, and almost immediately received a follow-up call from David Wishnia, who

attempted to set a solar sales appointment with Plaintiff. Wishnia confirmed his involvement to

Plaintiff and sent an email to Plaintiff requesting additional information re: Plaintiff’s current

electric bills.” (Id. at 6.)

         The Complaint alleges that Wishnia resides in Florida and his principal office is located in

Florida. (Id. at 1.) The Complaint further alleges that Plaintiff is a resident of Charleston County,

South Carolina, and Plaintiff received the text messages at issue to his “wireless phone line in

South Carolina.” (Id.)

         On November 4, 2024, Plaintiff filed his Complaint alleging violations of the TCPA, 45

U.S.C. § 277 et seq., and the SCTPPA, S.C. Code § 37-21-10, et seq. (Dkt. No. 1.) Defendant was

served with process on January 10, 2025, by personal service in Florida. (Dkt. No. 12); see Fed.

R. Civ. P. 4(e)(2)(A). Defendant failed to respond or otherwise appear in this action, and on

February 7, 2024, Plaintiff moved for entry of default against Defendant. (Dkt. No. 13.) At the

Court’s direction, the Clerk of Court entered default on February 11, 2025. (Dkt. Nos. 14; 16.)

         Plaintiff filed the instant Motion for Default Judgment on March 19, 2025, supported by a

memorandum of law, declaration, 2 and accompanying exhibits. (Dkt. Nos. 19; 19-1; 20.) Plaintiff

seeks an award of $3,000.00 in statutory damages under the TCPA, $20,000.00 in statutory

damages under the SCTPPA, and $570.00 in costs.

                                                   STANDARD

         Pursuant to Federal Rule of Civil Procedure 55, “[w]hen a party against whom a judgment

for affirmative relief is sought has failed to plead or otherwise defend, and that failure is shown by



2
 Although this declaration is not notarized, it has been signed and includes a statement swearing its truth under penalty
of perjury. See 28 U.S.C. § 1746 (allowing unsworn declarations to have full force and effect if the writer subscribes
the statement as true under penalty of perjury).

                                                           2
     2:24-cv-06310-JD               Date Filed 07/15/25             Entry Number 21               Page 3 of 15




affidavit or otherwise, the clerk must enter the party’s default,” Fed. R. Civ. P. 55(a). After a

default has been entered by the clerk, the plaintiff may move for entry of default judgment. If the

plaintiff’s claim against the defaulting defendant is not for a sum certain, the plaintiff “must apply

to the court for a default judgment.” 3 Fed. R. Civ. P. 55(b)(2).

         “Whether to grant default judgment lies within the sound discretion of the court.” Lundie

v. Smith & Cohen, LLC, No. 2:15-cv-291, 2016 WL 717113, at *2 (E.D. Va. Jan. 26, 2016),

adopted by, 2016 WL 715736 (E.D. Va. Feb. 18, 2016) (citing Lolatchy v. Arthur Murray, Inc.,

816 F.2d 951, 953–54 (4th Cir. 1987); see also United States v. Moradi, 673 F.2d 725, 727 (4th

Cir. 1982) (“[T]rial judges are vested with discretion, which must be liberally exercised, in entering

[default] judgments and in providing relief therefrom.”). The Fourth Circuit has a “strong policy

that cases be decided on the merits,” United States v. Shaffer Equip. Co., 11 F.3d 450, 453 (4th

Cir. 1993), but default judgment “may be appropriate when the adversary process has been halted

because of an essentially unresponsive party,” S.E.C. v. Lawbaugh, 359 F. Supp. 2d 418, 421 (D.

Md. 2005).

         In considering a motion for default judgment, the Court accepts as true all well-pleaded

factual allegations in the Complaint not relating to the amount of damages. See Fed. R. Civ. P.

8(b)(6) (“An allegation—other than one relating to the amount of damages—is admitted if a

responsive pleading is required and the allegation is not denied.”). Thus, regarding default



3
  To enter default judgment, the court must have subject matter jurisdiction over the case, personal jurisdiction over
the defaulting party, and venue must also be proper. Here, the court has federal-question jurisdiction over Plaintiff’s
TCPA claim, and it can exercise supplemental jurisdiction over Plaintiff’s SCTPPA claim. See, e.g., 28 U.S.C.
§ 1367(a) (Under supplemental jurisdiction, if the court has original jurisdiction over a cause of action, the court may
hear all claims related to the original cause of action); Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012)
(finding that the TCPA’s permissive grant of jurisdiction to state courts does not eliminate federal-question jurisdiction
in United States district courts). Venue is proper pursuant to 28 U.S.C. § 1391 because Plaintiff may bring suit in any
district “in which a substantial part of the events or omissions giving rise to the claim occurred.” 28 U.S.C, § 1391.
The undersigned addresses the issue of personal jurisdiction infra, section A n.3.


                                                            3
    2:24-cv-06310-JD          Date Filed 07/15/25        Entry Number 21         Page 4 of 15




judgments, the “appropriate inquiry is whether or not the face of the pleadings supports the default

judgment and the causes of action therein.” Anderson v. Found. for Advancement Educ. & Emp’t

of Am. Indians, No. 99-1508, 1999 WL 598860, at *1 (4th Cir. Aug. 10, 1999). Once the court

determines that default judgment is warranted, “the court may rely on declarations or documentary

evidence in the record to determine damages” without conducting an evidentiary hearing. United

States ex rel. Rauch v. Oaktree Med. Ctr., P.C., No. 6:15-cv-01589-JD, 2021 WL 11745347, at *3

(D.S.C. Aug. 24, 2021) (internal quotation marks omitted).

                                          DISCUSSION

       A.      TCPA Violations

       In the Complaint, Plaintiff alleges that Defendant violated the TCPA, specifically, 47

U.S.C. § 227(c). (Dkt. No. 1 at 6–7.)

       Under the TCPA, the Federal Communications Commission (“FCC”) is directed to
       engage in rulemaking about “the need to protect residential telephone subscribers'
       private rights to avoid receiving telephone solicitations to which they object” and
       to “prescribe regulations to implement methods and procedures for protecting
       [those] privacy rights.” 47 U.S.C. § 227(c)(1), (2). “A person who has received
       more than one telephone call within any 12-month period by or on behalf of the
       same entity in violation of the regulations” prescribed by the FCC has a private
       right of action for damages and injunctive relief. 47 U.S.C. § 227(c)(5).

Cleveland v. Nextmarvel, Inc., Civ. No. TDC-23-cv-1918, 2024 WL 198212 at *2 (D. Md. Jan.

18, 2024).

       A TCPA regulation cited in the Complaint prohibits “any telephone solicitation to ... [a]

residential telephone subscriber who has registered his or her telephone number on the national

do-not-call registry of persons who do not wish to receive telephone solicitations that is maintained

by the Federal Government.” 47 C.F.R. § 64.1200(c)(2). A “telephone solicitation” is defined in

the TCPA as “the initiation of a telephone call or message for the purpose of encouraging the




                                                 4
       2:24-cv-06310-JD        Date Filed 07/15/25        Entry Number 21         Page 5 of 15




purchase or rental of, or investment in, property, goods, or services, which is transmitted to any

person,” with certain exceptions not relevant here. 47 U.S.C. § 227(a)(4).

         Another regulation cited in the Complaint prohibits a person or entity from initiating calls

“for telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive such calls made

by or on behalf of that person or entity.” 47 C.F.R. § 64.1200(d). The regulation further provides

that

         A person or entity making an artificial or prerecorded-voice telephone call pursuant
         to an exemption under paragraphs (a)(3)(ii) through (v) of this section or any call
         for telemarketing purposes must provide the called party with the name of the
         individual caller, the name of the person or entity on whose behalf the call is being
         made, and a telephone number or address at which the person or entity may be
         contacted.

§ 64.1220(d)(4). The foregoing regulations “are applicable to any person or entity making

telephone solicitations or telemarketing calls or text messages to wireless telephone numbers to

the extent described in the Commission’s Report and Order, . . . “Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991.” Id. § 64.1200(e).

         Here, Plaintiff’s unchallenged factual allegations, taken as true by the undersigned, are

sufficient to establish Defendant’s liability under the TCPA. To establish a TCPA violation based

on 47 C.F.R. § 64.1200(c)(2), a plaintiff must show: (1) more than one telephone call within any

12-month period; (2) for the purpose of encouraging the purchase or rental of, or investment in,

property, goods, or services; (3) by or on behalf of the same entity; (4) to a residential telephone

subscriber whose telephone number had been placed on the National Do-Not-Call Registry. 47

U.S.C. § 277(c)(5); 47 C.F.R. § 64.1200(c)(2).

         In the Complaint, Plaintiff asserts that he registered his cell phone number with the Do-

Not-Call Registry, and the record shows he completed this registration on November 25, 2021.

                                                  5
    2:24-cv-06310-JD           Date Filed 07/15/25        Entry Number 21           Page 6 of 15




(Dkt. Nos. 1 at 5; 20-1 at 2.) Plaintiff also alleges that he received two text messages on October

14, 2024 marketing solar panels, and he has produced his telephone bill verifying his receipt of

these messages. (Dkt. Nos. 1 at 5; 20-2 at 2.) These text messages both qualify as telephone

solicitations because the first message expressly tried to sell goods and services to Plaintiff and it

is plausible to infer that the second text message was intended to achieve the same purpose. See

Cleveland, 2024 WL 198212, at *2 (“[T]ext messages constitute calls under the TCPA.”) (citing

Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 156 (2016) (in discussing a related provision of the

TCPA, stating that “[a] text message to a cellular telephone, it is undisputed, qualifies as a ‘call’”);

Hall v. Smosh Dot Com, Inc., 72 F.4th 983, 986 (9th Cir. 2023) (finding that receiving unsolicited

text messages sent to a phone number on the Do-Not-Call Registry in violation of the TCPA results

in an injury in fact)); see also Crews v. Sun Sols. AZ LLC, 2024 WL 2923709, at *5 (D. Ariz. June

10, 2024) (“The first two calls at issue (the calls from Miguel on July 10, 2023) qualify as telephone

solicitations because Miguel expressly tried to sell goods and services to Plaintiff during the

second call and it is plausible to infer that the first (dropped) call was intended to achieve the same

purpose.”).

        Plaintiff further alleges that these text messages were sent by a third-party lead company

on behalf of Wishnia. “A ‘defendant may be held vicariously liable for TCPA violations where the

plaintiff establishes an agency relationship, as defined by federal common law, between the

defendant and a third-party caller.’” Jones v. Mutal of Omaha Ins. Co., 639 F. Supp. 3d 537, 551

(D. Md. 2022) (quoting Gomez v. Campbell-Ewald Co., 768 F.3d 871, 879 (9th Cir. 2014), aff’d,

577 U.S. 153 (2016) (citing Hodgin v. UTC Fire & Sec. Am. Corp., Inc., 885 F.3d 243, 252 (4th

Cir. 2018); accord Henderson v. United Student Aid Funds, 918 F.3d 1068, 1072 (9th Cir. 2019)

(“A plaintiff . . . must show that there is an agency relationship between a defendant and a third-



                                                   6
     2:24-cv-06310-JD              Date Filed 07/15/25            Entry Number 21              Page 7 of 15




party caller for there to be vicarious liability for TCPA violations.”))). “Accordingly, ‘vicarious

liability under the TCPA is governed by the federal common law of agency,’ under which an

agency relationship may be established by way of (1) actual authority; (2) apparent authority; or

(3) ratification.” Id. (quoting Hodgin, 885 F.3d at 252).

          “Ratification is the affirmance of a prior act done by another, whereby the act is given

effect as if done by an agent acting with actual authority.” Hodgin, 885 F.3d at 252 (citing Rest.

(3d) of Agency § 4.01(1)). A party “may ratify an act by failing to object to it or to repudiate it,”

or by “receiving or retaining [the] benefits it generates.” Rest. (3d) of Agency § 4.01, cmts. f, g. A

purported principal, however, “is not bound by a ratification made without knowledge of material

facts involved in the original act when the [party] was unaware of such lack of knowledge.” Id. at

§ 4.06.

          Here, Plaintiff alleges that Wishnia “used a third-party lead company to send the text

messages” and that when Plaintiff “responded to the message to identify the sender,” Wishnia

“almost immediately” placed a “follow-up call” to Plaintiff. (Dkt. No. 1 at 5–6.) According to

Plaintiff, Wishnia “confirmed his involvement to Plaintiff,” attempted “to set a solar sales

appointment with Plaintiff,” and “sent an email to Plaintiff requesting additional information re:

Plaintiff’s current electric bills.” (Id. at 6.) Based on the foregoing, the undersigned finds Plaintiff

has plausibly alleged Wishnia affirmed or knowingly acquiesced in the third-party’s telemarketing

scheme, such that Wishnia is vicariously liable for the text messages Plaintiff received based on

the agency theory of ratification. 4 In sum, Plaintiff has sufficiently alleged facts that establish

liability under 47 C.F.R. § 64.1200(c)(2).


4
  Here, the undersigned notes that this finding establishes personal jurisdiction over Wishnia. More specifically, “in
the context of the TCPA, other courts have held that personal jurisdiction is proper in the District where an unlawful
communication is received.” Mey v. Castle L. Grp., PC, 416 F. Supp. 3d 580, 586 (N.D.W. Va. 2019) (citing Payton
v. Kale Realty, L.L.C., 2014 WL 4214917, at *3 (N.D. Ill. Aug. 26, 2014) (“[C]ourts have repeatedly held that sending

                                                          7
     2:24-cv-06310-JD                Date Filed 07/15/25              Entry Number 21               Page 8 of 15




         Plaintiff has also included sufficient facts in the Complaint to plausibly allege that Wishnia,

through a third-party agent, failed to provide the proper identifying information as required by

§ 64.1200(d)(4) (requiring telemarketers to provide the name of the caller or texter, the entity on

whose behalf the text is being sent, and a phone number or address at which the entity may be

contacted). Plaintiff alleges that the text messages “did not identify the true identity of the

Defendant[]” and in his declaration, Plaintiff states that “the identifying information associated

with the text messages included the alias first name of an individual and alias name of a solar

company, not Mr. Wishnia or a company with which he is affiliated.” (Dkt. Nos. 1 at 5; 20 at 3.)

Taking these facts as true, Plaintiff has sufficiently alleged facts that establish liability under

§ 64.1200(d)(4).

         Having found Wishnia liable for violations of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200,

the undersigned proceeds to a computation of damages. The statute provides that a plaintiff may

recover “actual monetary loss” from such violations or “receive up to $500 in damages for each

such violation, whichever is greater[.]” 47 U.S.C. § 227(c)(5)(B). Additionally, “[i]f the court finds

that the defendant willfully or knowingly violated the regulations prescribed under this subsection,

the court may, in its discretion, increase the amount of the award to an amount equal to not more

than 3 times the amount available under [§ 227(c)(5)(B)].” Id. § 227(c)(5).




a message into the forum state in violation of the TCPA is sufficient to confer specific personal jurisdiction over the
defendant.”); Luna v. Shac, L.L.C., 2014 WL 3421514, at *4 (N.D. Cal. July 14, 2014) (“When [the defendant]
intentionally sent unsolicited text messages advertising [itself] to California cell phone numbers, which conduct gave
rise to this litigation, it purposefully directed its activity to California such that [the defendant] is reasonably subject
to the personal jurisdiction of this Court.”); Baker v. Caribbean Cruise Line, Inc., 2014 WL 880634, at *2 (D. Ariz.
Mar. 6, 2014) (asserting specific jurisdiction over defendant in suit regarding unsolicited calls defendant made to
plaintiff's forum state telephone)). Accordingly, the Court has personal jurisdiction over Wishnia because the third-
party lead company was acting as his agent when it sent text messages to Plaintiff in South Carolina. See Bilek v. Nat’l
Cong. Of Emps., Inc., 470 F. Supp. 3d 857, 861-62 (N.D. Ill. 2020) (exercising personal jurisdiction based on an
agency theory in a TCPA case).

                                                             8
       2:24-cv-06310-JD       Date Filed 07/15/25        Entry Number 21         Page 9 of 15




         In his Motion for Default Judgment, Plaintiff asserts that Wishnia “violated 47 U.S.C.

§ 227(c) 2 times, and Plaintiff is entitled to $1,000 (i.e., $500 x 2).” (Dkt. No. 19-1 at 2.) Based

upon Plaintiff’s default motion, declaration, and Complaint, Plaintiff has established Wishnia’s

liability for the two unsolicited text messages to Plaintiff in violation of § 227(c) and § 64.1200,

requiring an award of $1,000.

         Plaintiff further contends he is entitled to treble damages because the text messages “were

made to a number on the DNC Registry, intentionally provided inaccurate identification

information, and were accordingly willful and knowing.” (Dkt. No. 19-1 at 2.) “For purposes of

civil liability, a defendant acts willfully under the TCPA when it ‘demonstrate[s] indifference to

ongoing violations and a conscious disregard for compliance with the law.’” Cleveland, 2024 WL

198212, at *3 (quoting Krakauer v. Dish Network LLC, 925 F.3d 643, 662 (4th Cir. 2019)). The

Fourth Circuit Court of Appeals has advised that “[t]rebling is never to be done lightly. Given the

consequences for a company, a trebled award must rest on solid evidence.” Krakauer, 925 F.3d at

663.

         Upon review, the undersigned finds Plaintiff has provided only conclusory allegations that

Wishnia intentionally and knowingly violated the TCPA. There are no allegations that Wishnia

continued to violate the TCPA after the two text messages were sent, and Plaintiff has failed to

show that he is entitled to treble damages under the TCPA. See Krakauer, 925 F.3d at 663

(“Trebling is never to be done lightly.”); cf. Cleveland, 2024 WL 198212, at *3 (holding that the

defendant willfully violated the TCPA in part because the plaintiff requested that the defendant

stop contacting her on six occasions, but was nevertheless sent another telemarketing message);

see also Silva v. Seven Rock Life Corp., No. 2:23-cv-6407 (NJC) (SIL), 2024 WL 3228437, at *7

(E.D.N.Y. June 28, 2024) (“Silva has not demonstrated that an enhanced damages award is



                                                  9
    2:24-cv-06310-JD           Date Filed 07/15/25         Entry Number 21           Page 10 of 15




appropriate. The Complaint does not allege facts supporting a finding that Seven Rock Life sent

the texts ‘with knowledge that the conduct violate[d] the law,’ and Silva’s allegations that she was

on the DNCR for years prior to receiving the texts alone do not support a treble damages award.”);

Arredondo v. Flexi Corp., 2017 WL 7796192, at *2 (S.D. Tex. Aug. 18, 2017) (denying treble

damages upon default judgment for a TCPA claim “because the pleadings and evidence do not

offer a sufficient indication of when [d]efendant’s sending of text messages could have become

willful and knowing”). Therefore, the undersigned recommends that the Court award Plaintiff

$1,000 in statutory damages under the TCPA.

        B.       SCTPPA Violations

        In the Complaint, Plaintiff further alleges that Defendant violated the SCTPPA, specifically

S.C. Code §§ 37-21-40(A), 70(B). (Dkt. No. 1 at 4, 7.) The SCTPPA was enacted in May 2018,

creating private rights of action for certain “telephone solicitations,” which includes text messages.

S.C. Code § 3-21-20(6). Section 40(A) of the SCTPPA, which governs telephone solicitation

disclosures, states, in pertinent part, “[a]t the outset of a telephone solicitation, a telephone solicitor

shall provide, in a clear and conspicuous manner, a first and last name to identify himself and

provide the name of the person on whose behalf the telephone solicitation is being made . . . S.C.

Code § 37-21-40(A). Section 70(B) of the SCTPPA, which restricts telephone solicitors from

contacting persons that indicated they do not wish to receive telemarketing calls, states “[a]

telephone solicitor may not initiate, or cause to be initiated, a telephone solicitation to a telephone

number on the National Do Not Call Registry maintained by the federal government pursuant to

the Telemarketing Sales Rule, 16 C.F.R. Part 310, and 47 C.F.R. Section 64.1200.” S.C. Code

§ 37-21-70(B).




                                                    10
    2:24-cv-06310-JD          Date Filed 07/15/25         Entry Number 21          Page 11 of 15




         As discussed above, the undersigned has found that Plaintiff has plausibly alleged Wishnia

affirmed or knowingly acquiesced in the third-party’s telemarketing scheme, such that Wishnia is

vicariously liable for the text messages Plaintiff received based on the agency theory of ratification.

Here, Plaintiff has included sufficient facts in the Complaint to plausibly allege that Wishnia,

through a third-party agent, sent two telephone solicitations via text message to Plaintiff that failed

to provide the proper identifying information as required by S.C. Code § 37-21-40(A). Plaintiff

alleges that the text messages “did not identify the true identity of the Defendant[]” and in his

declaration, he states that “the identifying information associated with the text messages included

the alias first name of an individual and alias name of a solar company, not Mr. Wishnia or a

company with which he is affiliated.” (Dkt. Nos. 1 at 5; 20 at 3.) Taking these facts as true, Plaintiff

has sufficiently alleged facts that establish liability under § 37-21-40(A). Plaintiff has also

included sufficient facts in the Complaint to plausibly allege that Wishnia, through a third-party

agent, sent two telephone solicitations via text message to Plaintiff, despite Plaintiff having

registered his number on the National Do-Not-Call Registry in 2021. (Dkt. No. 1 at 4–5.) Taking

these facts as true, Plaintiff has sufficiently alleged facts that establish liability under § 37-21-

70(B).

         Having found Wishnia liable for violations of S.C. Code §§ 37-21-40(A), 70(B), the

undersigned proceeds to a computation of damages. Violators of the SCTPPA can be subject to

injunctive restraints and ordered to pay actual losses and statutory damages. S.C. Code § 37-21-

80. Statutory damages start at $1,000 per violation. Id. “If the court finds a willful violation, the

court may, in its discretion, increase the amount of the award to an amount not exceeding five

thousand dollars for each violation.” Id. In addition to any damages awarded, the person initiating




                                                  11
      2:24-cv-06310-JD            Date Filed 07/15/25             Entry Number 21              Page 12 of 15




the action for a violation of this chapter may be awarded reasonable attorneys’ fees and court costs.

Id.

         In his Motion for Default Judgment, Plaintiff asserts that Wishnia violated S.C. Code § 37-

21-40(A) and § 37-21-70)(B) within each text message, and that he is “entitled to $4,000 (i.e.,

$1,000 x 4)” under § 37-21-80(A). (Dkt. No. 19-1 at 2.) Based upon Plaintiff’s default motion,

declaration, and Complaint, Plaintiff has established Wishnia’s liability for the four violations of

the SCTPPA within the two unsolicited text messages to Plaintiff (two violations of § 37-21-40(A)

and two violations of § 37-21-70(B)), requiring an award of $4,000.

         Plaintiff further contends that these damages should be “increased five times pursuant to

37-21-80(B) to $20,000 (i.e., $5,000 x 4) because the solicitations were willful, sent intentionally

to a number on the DNC Registry and included false identification information.” (Dkt. No. 19-1

at 2–3.) In support, Plaintiff has attached an order issued in state court in 2021, granting Plaintiff’s

motion for default judgment in a separate action, Jay Connor v. Complete Reservation Solutions,

LLC, Case No, 2021-101-060-0094 (“Connor”), and awarding increased damages for willful

violations of the SCTPPA. (Dkt. Nos. 19-1; 19-2.) In the state court order, the judge noted that

“[w]illful is not defined under the Act,” and she therefore looked to “other sources of law within

the context of telemarketing to supplement its provisions and carry out legislative intent.” (Dkt.

No. 19-2 at 5.) More specifically, the judge considered how the Ohio Supreme Court viewed a

willful violation under the TCPA and quoted language from Charvat v. Ryan, 116 Ohio St. 3d 394,

400 (Ohio 2007). 5 (Id. at 5–6.) The judge in Connor found “the reasoning in Charvat to be

persuasive,” stating


5
  Plaintiff also cites language from another state court case in support of finding increased damages appropriate under
the SCTPPA. (Dkt. No. 19-1 at 10.) However, he has not provided this order to the Court, and the language quoted by
Plaintiff does not establish that Wishnia’s instant violations were willful under the SCTPPA. Regardless, for the
reasons discussed above, the undersigned recommends increased damages should not be awarded.

                                                         12
    2:24-cv-06310-JD          Date Filed 07/15/25         Entry Number 21          Page 13 of 15




        ‘Willful’ acts are intentional, conscious, deliberate, and not by accident. However,
        a plaintiff should not have to prove the telemarketer knew he was violating the
        statute to establish “willful”, and potential increased damages. This Court agrees
        with the Ohio Supreme Court reasoning that the low threshold for “willful” is
        balanced with its wide discretion to award damages “up to” five thousand dollars.
        A court may choose not to award increased damages, even if the conduct is found
        to be willful.

(Id. at 6.)

        As discussed supra section A, the Fourth Circuit has recently provided helpful context for

assessing willful violations of the TCPA, and the undersigned finds that reasoning persuasive to

violations under the SCTPPA. See Krakauer, 925 F.3d at 662 (finding a defendant acts willfully

under the TCPA “if its actions demonstrated indifference to ongoing violations and a conscious

disregard for compliance with the law. . . . . This is a familiar willfulness standard that is common

to many areas of law.”). Here, there are no allegations that Wishnia continued to violate the

SCTPPA after the two text messages were sent, and the undersigned does not find that his alleged

actions demonstrate “indifference to ongoing violations and a conscious disregard for compliance

with the law.” Krakauer, 925 F.3d at 662. Accordingly, the undersigned recommends that

increased damages are not appropriate under § 37-21-80(B).

        Finally, Plaintiff seeks to recover as costs the $405.00 filing fee he paid to bring this action

and the $165.00 he paid to effectuate service of process on Wishnia. (Dkt. No. 19-1 at 3.) Plaintiff

testifies to these costs in his declaration. (Dkt. No. 20 at 1.) Accordingly, the undersigned

recommends Plaintiff is entitled to costs of $570.00 pursuant to § 37-21-80(C).

                                          CONCLUSION

        For the foregoing reasons, the undersigned RECOMMENDS that the court GRANT

Plaintiff’s Motion for Default Judgment for his claims under the TCPA and SCTPPA (Dkt. No.

19) and AWARD: (1) statutory damages of $1,000 under the TCPA; (2) statutory damages of



                                                  13
   2:24-cv-06310-JD          Date Filed 07/15/25      Entry Number 21        Page 14 of 15




$4,000 under the SCTPPA; and (3) costs of $405.00 for the filing fee and $165.00 for service fees

under the SCTPPA.

       IT IS SO RECOMMENDED.



July 15, 2025
Charleston, South Carolina




                                               14
   2:24-cv-06310-JD       Date Filed 07/15/25      Entry Number 21       Page 15 of 15




         Notice of Right to File Objections to Report and Recommendation

       The parties are advised that they may file specific written objections to this Report
and Recommendation with the District Judge. Objections must specifically identify the
portions of the Report and Recommendation to which objections are made and the
basis for such objections. “[I]n the absence of a timely filed objection, a district court
need not conduct a de novo review, but instead must ‘only satisfy itself that there is no
clear error on the face of the record in order to accept the recommendation.’” Diamond v.
Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72
advisory committee’s note).

       Specific written objections must be filed within fourteen (14) days of the date of
service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b);
see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5
may be accomplished by mailing objections to:

                                Robin L. Blume, Clerk
                             United States District Court
                                 Post Office Box 835
                           Charleston, South Carolina 29402

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v.
Schronce, 727 F.2d 91 (4th Cir. 1984).
